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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   CONSWALLO TURNER, TIESHA                          CASE NO. 0:24-cv-60591-DAMIAN/Valle
   FOREMAN, ANGELINA WELLS,
   PAULA LANGLEY, VERONICA KING,
   NAVAQUOTE, LLC, and WINN
   INSURANCE AGENCY, LLC, individually
   and on behalf of all others similarly situated,

                          Plaintiffs,

          v.

   ENHANCE HEALTH, LLC,
   TRUECOVERAGE, LLC, SPERIDIAN
   TECHNOLOGIES, LLC, BENEFITALIGN,
   LLC, NUMBER ONE PROSPECTING,
   LLC d/b/a MINERVA MARKETING,
   BAIN CAPITAL INSURANCE FUND,
   L.P., DIGITAL MEDIA SOLUTIONS LLC,
   NET HEALTH AFFILIATES, INC.,
   MATTHEW B. HERMAN, BRANDON
   BOWSKY, GIRISH PANICKER, and
   MATTHEW GOLDFUSS,

                          Defendants.


              DEFENDANT BAIN CAPITAL INSURANCE FUND, LP’S
        MOTION TO DISMISS AND INCORPORATED MEMORANDUM OF LAW
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                                         INTRODUCTION

         Defying fundamental principles limiting the federal judicial power and respecting the

  separation of corporate affiliates, Plaintiffs seek to hold Bain Capital Insurance Fund, LP

  (“BCIF”), a Massachusetts-based private investment fund, liable for an alleged Florida-based

  RICO scheme due to the purported involvement of its resident portfolio company, Enhance Health,

  LLC (“Enhance”). Plaintiffs’ claims against BCIF fail and should be dismissed for three reasons.

  First, this Court lacks personal jurisdiction over BCIF under Florida’s long-arm statute because

  BCIF is a Delaware limited partnership with its principal place of business in Massachusetts and

  no business presence in Florida. Second, Plaintiffs fail to state a claim against BCIF under either

  RICO or Florida’s common law because Plaintiffs do not adequately allege the essential elements

  of their claims and rely on vague, speculative, and conclusory allegations that plausibly describe

  only industry-standard investment activities by an investment fund (BCIF) with respect to its

  portfolio company (Enhance). And third, despite leveling bold accusations as to BCIF’s purported

  control over Enhance, funding of its operations, and sharing of its executives, Plaintiffs

  conspicuously do not bring agency or veil-piercing claims against BCIF to try to establish

  jurisdiction or liability. This telling maneuver exposes the fact that Plaintiffs know they cannot

  meet the exceptionally high standards required to hold BCIF responsible for the alleged actions of

  Enhance and are attempting an impermissible end-run around their burdens by implausibly

  claiming that BCIF participated directly in the purported RICO enterprise through ordinary

  investment activity.

         Accordingly, the Court should reject Plaintiffs’ transparent attempt to shoehorn BCIF into

  their Amended Complaint to serve as a proverbial “deep pocket.” Creating civil liability for foreign

  investment funds based on long-standing investment and oversight practices in their portfolio
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  companies finds no support in the case law and would be detrimental to Florida’s burgeoning

  business economy. The Court should dismiss Plaintiffs’ claims against BCIF with prejudice.

                                              ARGUMENT1

  I.      THE COURT LACKS PERSONAL JURISDICTION OVER BCIF

          “[T]he plaintiff bears the burden of establishing a prima facie case of jurisdiction over the

  movant, non-resident defendant.” PVC Windoors, Inc. v. Babbitbay Beach Constr., N.V., 598 F.3d

  802, 810 (11th Cir. 2010) (citation omitted). Plaintiffs rely on Florida’s long-arm statute to meet

  their burden.2 Compl. ¶¶ 47–48. Florida’s long-arm statute provides for both general and specific

  personal jurisdiction. Carmouche v. Carnival Corp., 36 F. Supp. 1335, 1340 (S.D. Fla. 2014), aff’d

  sub nom. Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201 (11th Cir. 2015). “[T]he long-arm

  statute must be strictly construed, and any doubts about applicability of the statute resolved in

  favor of the defendant and against a conclusion that personal jurisdiction exists[.]” Gadea v. Star

  Cruises, Ltd., 949 So. 2d 1143, 1150 (Fla. 3d DCA 2007).

          A.      Plaintiffs Fail To Establish General Jurisdiction

          BCIF is simply not “at home” in Florida. See, e.g., McCullough v. Royal Caribbean

  Cruises, Ltd., 268 F. Supp. 3d 1336, 1343–44 (S.D. Fla. 2017) (citation omitted). As Plaintiffs

  themselves allege, BCIF is “a Delaware limited partnership with its principal place of business in

  Boston, Massachusetts.” Compl. ¶ 46. BCIF is neither incorporated nor licensed to do business in

  Florida, and it maintains no office, property, telephone number, bank account, or registered agent



  1
       Pursuant to the Court’s September 27, 2024 order [ECF No. 95], BCIF joins the entirety of its
       co-defendants’ Joint Motion to Dismiss and Incorporated Memorandum of Law filed on
       September 30, 2024 [ECF No. 100].
  2
       BCIF reserves the right to contest alternative allegations of jurisdiction, if any, that Plaintiffs
       may seek to assert.



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  in Florida. Ex. A, Declaration of Jack Sun ¶¶ 5–7 (“Sun Decl.”). In other words, BCIF engages in

  no “continuous and systematic activity” in Florida. See McCullough, 268 F. Supp. 3d at 1343–44.

          Plaintiffs’ attempts to complicate this straightforward analysis are unavailing. Plaintiffs’

  factual claims describe nothing more than a fund/portfolio-company relationship between

  Massachusetts-based BCIF and Florida-based Enhance—a relationship in which BCIF invested

  money in Enhance and a BCIF executive served on Enhance’s Board and participated in certain

  high-level management decisions. See Compl. ¶ 48. Even if true, these allegations of limited,

  industry-standard interactions between a foreign investment fund and its Florida-based portfolio

  company are insufficient to subject BCIF to general jurisdiction in Florida. Indeed, Florida courts

  have squarely rejected attempts to derive jurisdiction from “periodic presence” consistent with a

  fund/portfolio-company relationship. See Gen. Cigar Holdings, Inc. v. Altadis, S.A., 205 F. Supp.

  2d 1335, 1343 (S.D. Fla. 2002) (no general jurisdiction from “visits by a few employees”); see

  also Gadea, 949 So. 2d at 1145–46 (no jurisdiction from installation of Florida subsidiary’s

  management and use of Florida subsidiary’s headquarters).

          Nor can Plaintiffs’ conclusory allegations that BCIF “is engaged in substantial and not

  isolated activity” within Florida, Compl. ¶ 48 (citing Fla. Stat. 48.193(2)), carry their burden. See,

  e.g., In re Takata Airbag Prods. Liab. Litig., 396 F. Supp. 3d 1101, 1142 (S.D. Fla. 2019); Jessop

  v. Penn Nat’l Gaming, Inc., 2019 WL 5549143, at *5 (M.D. Fla. Oct. 28, 2019) (disregarding

  allegations of defendant’s “ultimate oversight and control” as “conclusory allegations” in personal

  jurisdiction analysis).

          B.      Plaintiffs Fail To Establish Specific Jurisdiction

          Plaintiffs also assert that the Court has specific jurisdiction over BCIF because, allegedly,

  BCIF “operates, conducts, engages in, or carries on a business or business venture in Florida” or




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  “committed one or more tortious acts within Florida.” Compl. ¶ 47 (citing Fla. Stat. 48.193(1)(a)).

  However, for many of the same reasons, neither claim is true, and Plaintiffs fail to show otherwise.

         First, Plaintiffs do not allege facts sufficient to demonstrate that BCIF operates, conducts,

  engages in, or carries on business in Florida. On this element, courts consider “the presence and

  operation of an office in Florida, the possession and maintenance of a license to do business in

  Florida, the number of Florida clients served, and the percentage of overall revenue gleaned from

  Florida clients.” Horizon Aggressive Growth, L.P. v. Rothstein-Kass, P.A., 421 F.3d 1162, 1167

  (11th Cir. 2005) (citations omitted). Although BCIF’s portfolio company, Enhance, conducts

  business in Florida, BCIF is licensed and maintains its principal office in Massachusetts. Ex. A,

  Sun Decl. ¶ 3. And none of the six other portfolio companies that BCIF maintains operates an

  office or derives revenue principally in Florida. Id. ¶ 4.

         Eager to manufacture jurisdiction, Plaintiffs make a series of vague and conclusory

  allegations designed to overstate BCIF’s relationship to Enhance and, thereby, BCIF’s connection

  to Florida—namely, that BCIF “owns” and “operates” Enhance, “funds” its “operations,” and has

  employees who “work out of” Enhance’s office. Compl. ¶ 47. Even setting aside the vagueness of

  Plaintiffs’ allegations, they cannot support a prima facie case for jurisdiction. Cf., e.g., Suroor v.

  First Inv. Corp., 700 So. 2d 139, 141 (Fla. 5th DCA 1997) (no jurisdiction where defendant was

  sole shareholder of in-state company, visited Florida to inspect and evaluate the company’s

  property, and made payments from his personal funds for improvement of the property).

         But even if Plaintiffs have established that BCIF has some—albeit negligible—contacts

  with Florida, they have not met their burden of showing that their claims “relate to” BCIF’s

  purported contacts. See Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 592 U.S. 351, 359 (2021)

  (citation and internal quotation marks omitted). As detailed below, infra at 14–15, Plaintiffs do not




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   assert a vicarious liability claim against BCIF based on its purported “control” or “direct[ion]” of

   Enhance. Compl. ¶¶ 292, 299, 307. Rather, they seek to hold BCIF directly liable based on its own

   purported participation in the allegedly fraudulent scheme. To establish jurisdiction for those

   claims, Plaintiffs must draw a link between BCIF’s garden-variety investment contacts with

   Florida and a cognizable RICO or common-law injury. See Ford, 592 U.S. at 59. They cannot

   do so.

            Second, Plaintiffs fail to allege that BCIF engaged in any tortious conduct or

   communications within the state of Florida. Although Plaintiffs vaguely claim that BCIF

   “[s]tation[ed]” employees at Enhance’s Florida office to “oversee” and “manage” the company,

   they do not allege that those employees participated in tortious conduct. Compl. ¶ 48. At most,

   Plaintiffs allege that BCIF’s personnel “did not stop” Enhance from engaging in tortious conduct,

   without claiming that BCIF owed any duty to Plaintiffs to do so. Id. ¶ 304. There is no basis to

   find that BCIF “committed” a tortious “act” under such circumstances. See Fla. Stat. 48.193(1)(a).

   Nor do Plaintiffs state a plausible claim that BCIF made tortious communications directed at

   Florida, beyond bald allegations that BCIF “use[d] thousands of interstate mail, wire and email

   communications” to perpetuate the alleged RICO scheme. Compl. ¶ 530. That is insufficient. See

   Diamond Resorts U.S. Collection Dev., LLC v. Neally, 2022 WL 2056197, at *7 (M.D. Fla.

   Jan. 27, 2022) (finding no jurisdiction where plaintiff failed to specify tortious communications).

            Because Plaintiffs fail to plead that BCIF committed a tort in Florida or made tortious

   communications directed at Florida, they necessarily cannot establish that their claims “arise from”




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   those acts. Wiggins v. Tigrent, Inc., 147 So. 3d 76, 87 (Fla. 2d DCA 2014). Plaintiffs’ failure to

   plead this “critical” jurisdictional hook, id., requires dismissal of their claims against BCIF.3

   II.      PLAINTIFFS FAIL TO STATE A CLAIM AGAINST BCIF

            To survive a motion to dismiss, a complaint must allege “sufficient factual matter, accepted

   as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

   (2009) (citation and internal quotation marks omitted). Plaintiffs cannot rely on “formulaic

   recitation[s],” “speculative” allegations, or “wholly conclusory statement[s]” to meet their burden.

   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 561 (2007). BCIF joins Sections II through

   VII of its co-defendants’ Joint Motion to Dismiss and Incorporated Memorandum of Law [ECF

   No. 100 §§ II–VII]. But even if the Court does not dismiss the Amended Complaint in its entirety,

   it should still dismiss Plaintiffs’ claims against BCIF. Plaintiffs’ allegations that BCIF directly

   participated in a RICO enterprise and/or common-law fraud or breach are so lacking in detail and

   substance that they fail to establish a colorable claim, much less a plausible one.

            A.      Plaintiffs’ RICO Claims Against BCIF Fail

                    1.      Plaintiffs Fail To Plead The Alleged RICO Fraud With Particularity

            All three of Plaintiffs’ RICO claims against BCIF fail to satisfy the heightened pleading

   standard imposed by Rule 9(b), which “applies to RICO fraud allegations.” Solomon v. Blue Cross

   & Blue Shield Ass’n, 574 F. Supp. 2d 1288, 1293 (S.D. Fla. 2008). Under Rule 9(b), Plaintiffs



   3
         Plaintiffs do not allege that exercising personal jurisdiction over BCIF would comport with the
         14th Amendment’s Due Process Clause. See generally Compl. § B. It would not. The Due
         Process Clause is “more restrictive” than Florida’s long-arm statute, Execu-Tech Bus. Sys., Inc.
         v. New Oji Paper Co., 752 So. 2d 582, 584 (Fla. 2000), and Plaintiffs’ allegations concerning
         BCIF’s ordinary investment activities with respect to Enhance show neither BCIF’s
         “purposeful availment” of Florida nor “reasonable foreseeability” that BCIF could be haled
         into a Florida court, Future Tech. Today, Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1250–
         51 (11th Cir. 2000).



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   must plead, with particularity, “(1) the precise statements, documents, or misrepresentations made;

   (2) the time, place, and person responsible for the statement; (3) the content and manner in which

   these statements misled [Plaintiffs]; and (4) what [BCIF] gained by the alleged fraud.” Am. Dental

   Ass’n v. Cigna Corp., 605 F.3d 1283, 1291 (11th Cir. 2010) (citation and internal quotation marks

   omitted). Plaintiffs do not do so.

          In Koch v. Royal Wine Merchs, 847 F. Supp. 2d 1370, 1377 (S.D. Fla. 2012), the court

   dismissed the plaintiff’s RICO claims as inadequately pled under Rule 9(b), in part, because the

   complaint had “gaping holes in its description of the predicate acts of wire and mail fraud.” So too

   here. Plaintiffs do not identify in their Amended Complaint a single, precise statement, document,

   or misrepresentation purportedly made by BCIF—an investment fund that does not conduct

   business in the Affordable Care Act (“ACA”) insurance industry—to satisfy the alleged wire and

   mail fraud predicate acts, much less the time, place, and person responsible for making them or

   how Plaintiffs were purportedly misled by them while BCIF benefited. See Am. Dental, 605 F.3d

   at 1291–92; see also Viridis Corp. v. TCA Glob. Credit Master Fund, LP, 155 F. Supp. 3d 1344,

   1362–63 (S.D. Fla. 2015). To the contrary, Plaintiffs simply lump BCIF together with the other

   defendants and assert—based on “formulaic recitation[s]” of the elements of a RICO claim and

   “wholly conclusory statement[s],” Twombly, 550 U.S. at 555, 561, concerning “hundreds of

   thousands” of acts of wire and mail fraud purportedly committed by the group—that BCIF violated

   RICO. Compl. ¶ 407. That is a far cry from what the law requires. See Viridis, 155 F. Supp. at

   1362; Ambrosia Coal & Constr. Co. v. Pages Morales, 482 F.3d 1309, 1317 (11th Cir. 2007); see

   also Cisneros v. Petland, Inc., 972 F.3d 1204, 1217 (11th Cir. 2020) (“[E]xpecting [the Court] to

   read [corporate parent’s] complicity into” allegations against its subsidiary “is precisely the kind




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   of vagueness in fraud pleadings Rule 9(b) was designed to prevent.”). The Court should dismiss

   all of Plaintiffs’ RICO counts against BCIF.

                  2.      Plaintiffs Fail To Plead That BCIF Violated RICO

          Plaintiffs’ RICO claim against BCIF under 18 U.S.C. § 1962(c) fails for the additional

   reason that Plaintiffs do not plausibly allege that BCIF participated in the “operat[ion] or

   manage[ment]” of a RICO “enterprise.” See Cisneros, 972 F.3d at 1211. Plaintiffs ask this Court

   to infer, based solely on BCIF’s investment relationship with one of the other purported RICO

   participants (its portfolio company, Enhance), that BCIF was not only associated-in-fact with a

   sprawling RICO enterprise (involving dozens of defendant-parties and nonparties, see Compl.

   ¶¶ 44–141), but went so far as to “direct[] the Enterprise’s affairs” as a whole toward a purportedly

   shared illicit purpose of its members. Compl. ¶ 406(j). That is a massive inferential leap—one that

   courts across the country refuse to make when presented with similar allegations. See, e.g., Gomez

   v. Guthy-Renker, LLC, 2015 WL 4270042, at *8 (C.D. Cal. July 13, 2015) (“Courts have

   overwhelmingly rejected attempts to characterize routine commercial relationships as RICO

   enterprises.”) (collecting cases). There is no basis for the Court to do so here. See id. at *11

   (plaintiff’s counsel cannot use “artful pleading practices” to create RICO liability).

                  3.      Plaintiffs Fail To Plead That BCIF Aided And Abetted A RICO Violation

          Plaintiffs’ failure to allege a substantive RICO violation on the part of BCIF’s co-

   defendants, see Joint Mot. to Dismiss and Inc. Mem. of Law [ECF No. 100 § II], dooms their

   aiding and abetting claim against BCIF. See Am. Dental, 605 F.3d at 1296 n.7. Moreover, to make

   out their aiding and abetting claim, Plaintiffs merely assert that BCIF “had knowledge of the

   [RICO] scheme,” “provided substantial assistance toward its commission,” and “substantially

   benefited from [its own] participation.” Compl. ¶¶ 667–68. But “[t]hreadbare recitals of the

   elements of a cause of action . . . do not suffice” to meet Rule 8’s pleading standard. See Iqbal,


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   556 U.S. at 678; see also Edwards v. Prime, Inc., 602 F.3d 1276, 1300 (11th Cir. 2010) (“The

   mere use of the words . . . ‘aiding and abetting’ without any more explanation of the grounds of

   the plaintiffs’ entitlement to relief is insufficient.”). Plaintiffs do not allege facts establishing that

   BCIF aided and abetted a RICO violation. Finally, as discussed in more detail below, infra at 11–

   13, Plaintiffs fail to plausibly allege that BCIF either knew about or substantially assisted any of

   the co-defendants in wrongdoing, including RICO violations.

                   4.      Plaintiffs Fail To Plead That BCIF Participated In A RICO Conspiracy

           Plaintiffs also fail to plead a RICO conspiracy claim against BCIF because they do not

   plausibly allege that BCIF “agreed to the overall objective of the conspiracy” or “agreed to commit

   two predicate acts.” Republic of Pan. v. BCCI Holdings (Lux.) S.A., 119 F.3d 935, 950 (11th Cir.

   1997). As Plaintiffs articulate it, the objective of the alleged conspiracy was to “artificially and

   exponentially grow” the ACA health insurance industry and “use fraudulent means to exploit and

   capture as much of that industry as possible, as quickly as possible, for monetary gain.” Compl.

   ¶ 405. But Plaintiffs do not allege that BCIF agreed to “use fraudulent means” to “exploit” the

   ACA industry and “artificially” grow ACA enrollments “as quickly as possible.” To the contrary,

   Plaintiffs make only the vague and conclusory allegation that BCIF agreed “with others within the

   Enterprise” to “at the very least facilitate” the conduct of the Enterprise, id. ¶ 607, supported by

   cursory allegations of legitimate investment activity, id. ¶ 406(j). If these allegations were deemed

   sufficient by a court to show an agreement to pursue a conspiratorial objective, “countless law-

   abiding companies” would face RICO liability on a daily basis. See Cisneros, 972 F.3d at 1212;

   cf. also In re Packaged Seafood Prod. Antitrust Litig., 338 F. Supp. 3d 1118, 1175 (S.D. Cal. 2018)

   (dismissing conspiracy claim where plaintiffs’ allegations merely “describe[d] rational, legitimate

   business activity typical of a private equity firm”). Neither RICO nor this Court’s case law

   countenances such an outcome. See, e.g., Otto Candies, LLC v. Citigroup, Inc., 2023 WL 6418135,


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   at *5 (S.D. Fla. Aug. 25, 2023) (alleging “business relationship” and “mutual financial gain”

   insufficient to plead RICO conspiracy); Cisneros, 972 F.3d at 1211 (plaintiffs must allege that

   conspirators agreed to “enrich themselves through a particular criminal course of conduct.”).

          Further, because BCIF does not participate in the ACA industry, Plaintiffs do not, and

   cannot, allege that BCIF was directly involved in any purported “false advertisements, AOR

   Swaps, Twisting, and Dual Apps” that they rely on for their RICO claims. See Compl. ¶ 530. Nor

   do Plaintiffs plausibly allege that BCIF agreed to commit any predicate act of mail or wire fraud,

   see supra at 7, in furtherance of these activities. See Solomon, 574 F. Supp. 2d at 1292; see also

   O’Malley v. O’Neill, 887 F.2d 1557, 1560 (11th Cir. 1989).

          B.      Plaintiffs’ Common Law Claims Against BCIF Fail

                  1.      Plaintiffs Fail To State A Claim For Aiding And Abetting Fraud

           Although courts are expressly undecided as to whether a cause of action for aiding and

   abetting fraud exists under Florida law, see, e.g., Tippens v. Round Island Plantation L.L.C., 2009

   WL 2365347, at *5 & n.8 (S.D. Fla. July 31, 2009), assuming one does exist, Plaintiffs must

   plausibly allege three elements to plead it: “(1) the existence of an underlying violation;

   (2) knowledge of the violation by the alleged aider and abettor; and (3) the rendering of substantial

   assistance in committing the violation by the alleged aider and abettor.” Rosenfeld Gallery, LLC

   v. Truist Bank, 2024 WL 836789, at *4 (S.D. Fla. Feb. 28, 2024) (citation omitted). Plaintiffs

   flounder on all three counts.

          First, for the reasons set forth in BCIF’s co-defendants’ Joint Motion to Dismiss and

   Incorporated Memorandum of Law [ECF No. 100 §§ VI, VII], Plaintiffs fail to plead, with

   particularity, an underlying fraudulent scheme that BCIF could have aided and abetted.

          Second, Plaintiffs fail to adequately allege that BCIF knew about any fraud. Under Florida

   law, Plaintiffs must detail in their Amended Complaint “specific facts that give rise to a strong


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   inference of [BCIF’s] actual knowledge.” Lamm v. State St. Bank & Tr. Co., 889 F. Supp. 2d 1321,

   1332 (S.D. Fla. 2012) (citation omitted). As discussed, however, the overwhelming majority of

   Plaintiffs’ allegations related to BCIF describe only a textbook relationship between BCIF and its

   portfolio company, Enhance. See Compl. ¶¶ 298–99, 304–05. These allegations do not give rise to

   an inference that BCIF knew about fraud at Enhance, much less a strong inference that BCIF knew

   Enhance was at the center of a sprawling fraudulent enterprise.

          Aware of this deficiency, Plaintiffs include two allegations in their Amended Complaint

   that purport to address it: that BCIF allegedly “received complaints from Enhance Health’s

   managers, including a manager of the customer service department, about the high volume of

   consumer complaints resulting from the scheme” and “asked the former customer service manager

   to show them evidence of [the scheme], and she did.” Compl. ¶¶ 301–02. Plaintiffs do not specify

   who these managers were, what “evidence” they showed, to whom at BCIF they shared the

   complaints, or when, where, or how any of this purportedly took place. Plaintiffs therefore fail

   again to meet the particularity requirement of Rule 9(b). Moreover, even accepting Plaintiffs’

   allegations as true, they do not give rise to a “strong inference” that BCIF had “actual knowledge”

   of fraud. Rosenfeld Gallery, 2024 WL 836789, at *4. At most, they suggest that someone at BCIF

   was made aware of customer complaints and was shown undisclosed evidence as to why those

   customers were complaining. That is not sufficient. Conclusory statements of a defendant’s

   knowledge, supported by nothing more than two vague and threadbare allegations about the

   defendant’s receipt of “evidence” concerning “complaints,” cannot support an aiding and abetting

   fraud claim. See, e.g., Rusty115 Corp. v. Bank of Am., 2023 WL 6064518, at *6 (S.D. Fla. Sept.

   18, 2023) (alleging defendant’s awareness of “suspicious” activity and “red flags” of fraud is

   insufficient to establish actual knowledge); Meridian Tr. Co. v. Batista, 2018 WL 4693533, at *4




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   (S.D. Fla. Sept. 26, 2018) (observing that courts repeatedly dismiss cases where the allegations

   suggest only that the defendant “should have known” about the fraud).

           Finally, Plaintiffs fail to plead that BCIF rendered substantial assistance in committing a

   fraud. While Plaintiffs assert BCIF’s investment in Enhance and participation in C-Suite hiring

   through an executive’s Board membership, Compl. ¶¶ 298–300, allegations of quintessential

   private investment activity cannot be considered “substantial assistance” to commit fraud, and

   Plaintiffs do not muster any additional allegations to meet their burden. See id. ¶¶ 745–46

   (asserting, with no support, that BCIF “provid[ed] substantial and material assistance to the

   fraud”); see In re Palm Beach Fin. Partners, L.P., 517 B.R. 310, 348 (Bankr. S.D. Fla. 2013)

   (commercial loan to party that participated in fraud and failure by lender to report the fraud

   insufficient to show “substantial assistance”). To the extent Plaintiffs rely on a theory that BCIF

   provided substantial assistance by failing to “stop” Enhance from committing fraud, see id. ¶ 304,

   “[m]ere inaction constitutes substantial assistance only if the defendant owes a fiduciary duty

   directly to the plaintiff.” Chang v. JPMorgan Chase Bank, N.A., 845 F.3d 1087, 1098 (11th Cir.

   2017) (citations omitted). Plaintiffs do not allege that BCIF owed such a duty to Plaintiffs (because

   it did not) and, therefore, Plaintiffs’ claim fails.

                   2.      Plaintiffs Fail To State A Claim For Aiding And Abetting A Breach Of
                           Fiduciary Duty.

           For substantially similar reasons, Plaintiffs likewise fail to state a claim for aiding and

   abetting a breach of fiduciary duty. To survive dismissal, Plaintiffs must establish: “1) a fiduciary

   duty on the part of a primary wrongdoer; 2) a breach of that fiduciary duty; 3) knowledge of the

   breach by the alleged aider and abettor; and 4) the aider and abettor’s substantial assistance or

   encouragement of the wrongdoing.” Honig v. Kornfeld, 339 F. Supp. 3d 1323, 1343–44 (S.D. Fla.

   2018). Plaintiffs again fail on each element.


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          First, for the reasons explained in BCIF’s co-defendants’ Joint Motion to Dismiss and

   Incorporated Memorandum of Law [ECF No. 100 § VII], Plaintiffs fail to plead that any of the

   defendants owed or breached a fiduciary duty to Plaintiffs that BCIF could have aided and abetted.

          Second, as with their aiding and abetting fraud claim, Plaintiffs fail to plead that BCIF had

   actual knowledge of a breach of fiduciary duty. “Florida law requires that a defendant have actual

   ‘knowledge of the underlying fraud or breach of fiduciary duty,’ not merely that certain ‘red flags’

   indicate a defendant ‘should have known’ of the breach.” Honig, 339 F. Supp. 3d at 1343 (citation

   omitted). Here, Plaintiffs do not allege that BCIF was aware of any conduct on the part of

   Enhance’s brokers that purportedly gave rise to a fiduciary duty owed by Enhance to Plaintiffs,

   such as actions showing that Enhance assumed a position of “trust and confidence” with Plaintiffs

   as their insurance broker or established a “special relationship” with Plaintiffs that arguably

   triggered a higher standard of care. See Joint. Mot. to Dismiss [ECF No. 100 § VII.A.] Further, as

   discussed supra at 11–12, Plaintiffs’ two vague allegations concerning BCIF’s purported receipt

   of “evidence” about “complaints” from unnamed Enhance managers are insufficient to show actual

   knowledge that Enhance breached a fiduciary duty. See, e.g., Anderson v. Branch Banking & Tr.

   Co., 2014 WL 11706453, at *7 (S.D. Fla. May 19, 2014).

          Finally, as with their aiding and abetting fraud claim, Plaintiffs fail to plead that BCIF

   substantially assisted Enhance’s breach of a fiduciary duty. Plaintiffs’ allegations as to BCIF’s

   industry-standard investment activities are insufficient and Plaintiffs do not make any claim—

   beyond a bald assertion that BCIF “substantially assisted in the breach of fiduciary duties,” Compl.

   ¶ 826—that BCIF provided affirmative assistance to Enhance. Accordingly, the Court should

   dismiss this claim. See Turnberry Vill. N. Tower Condo. Ass’n, Inc. v. Turnberry Vill. S. Tower

   Condo. Ass’n, Inc., 224 So. 3d 266, 267 (Fla. 3d DCA 2017).




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           C.      Plaintiffs Do Not Assert Agency Or Veil Piercing Claims Against BCIF

           In their Amended Complaint, Plaintiffs lob the type of allegations at BCIF that plaintiffs

   assert when they need to establish derivative personal jurisdiction over an out-of-state corporate

   owner and hold the owner vicariously liable for the alleged misconduct of its in-state subsidiary—

   namely, that BCIF purportedly “control[s]” and “direct[s]” the “operations” of Enhance. E.g.,

   Compl. ¶¶ 292, 299, 307. However, despite making these bold—albeit vague—allegations,

   Plaintiffs do not bring claims of agency or veil piercing against BCIF in an effort to plead

   jurisdiction or liability. See, e.g., Gadea, 949 So. 2d at 1147 (agency as a basis for personal

   jurisdiction); MasTec Renewables P.R. LLC v. Mammoth Energy Servs., Inc., 2020 WL 6781823,

   at *5 (S.D. Fla. Nov. 18, 2020) (veil piercing as grounds to hold a parent liable for its subsidiary’s

   actions). That is a remarkably telling choice on Plaintiffs’ part that underscores two realities. First,

   Plaintiffs know they cannot satisfy the extraordinarily high burdens imposed by Florida law to

   hold BCIF vicariously liable, in a Florida court, for Enhance’s alleged misconduct. Second, as a

   result, Plaintiffs seek to shirk those burdens, and eviscerate BCIF’s legitimate use of its corporate

   form, by implausibly claiming that BCIF’s purported “control” and “direct[ion]” of Enhance

   amounted to its direct participation in the alleged Florida RICO scheme and grounds to hold BCIF

   liable in this district of its own accord. The Court should not bless Plaintiffs’ blatantly evasive

   tactics, which would eliminate essential corporate protections that are increasingly relied upon by

   investment funds and other corporate entities that do business in Florida.

           Florida courts require a “high and very significant” demonstration of control before they

   will find agency for jurisdictional purposes. E.g., Gadea, 949 So. 2d at 1147 (citation omitted).

   Further, Florida courts recognize the “deeply ingrained” principle “that a parent corporation . . . is

   not liable for the acts of its subsidiaries” and depart from that position “only in exceptional

   circumstances.” Molenda v. Hoechst Celanese Corp., 60 F. Supp. 2d 1294, 1300 (S.D. Fla. 1999),


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   aff’d, 212 F.3d 600 (11th Cir. 2000) (citation and internal quotation marks omitted). To establish

   that “exceptional circumstances” may exist at the motion to dismiss stage, a plaintiff must

   plausibly allege three elements: (1) the parent “dominated and controlled” its subsidiary to such

   an extent that the subsidiary’s independence was “non-existent,” (2) the parent abused the

   corporate form “fraudulently or for an improper purpose,” and (3) the parent’s misuse of the

   corporate form “caused injury” to the plaintiff. E.g., Virtus Pharms., LLC v. Woodfield Distrib.,

   LLC, 2022 WL 2829634, at *11 (M.D. Fla. July 20, 2022).

          As explained, Plaintiffs muster only vague and conclusory allegations of “control” and

   “direction” of Enhance, supported by factual claims that reflect nothing more than BCIF’s bona

   fide use of its corporate form to engage in industry-standard investment activities with respect to

   Enhance. These allegations do not even colorably suggest that BCIF dominates Enhance to the

   point that Enhance is a “sham,” Wesco Mfg., Inc. v. Tropical Attractions of Palm Beach, Inc., 833

   F.2d 1484, 1486 (11th Cir. 1987), or that BCIF abused Enhance’s corporate status to “perpetrate a

   fraud” with impunity, Ocala Breeders’ Sales Co. v. Hialeah, Inc., 735 So. 2d 542, 543 (Fla. 3d

   DCA 1999) (citation omitted). So, it is no wonder that Plaintiffs refrain from bringing vicarious

   liability claims against BCIF and, instead, assert meritless direct liability theories. That

   impermissible end-run around Plaintiffs’ burdens, if accepted by the Court, would blow a hole in

   well-established corporate protections relied upon by the Florida business community.

                                           CONCLUSION

          For the reasons stated herein, the Court should dismiss Plaintiffs’ claims against BCIF with

   prejudice.




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    Dated: October 16, 2024              Respectfully submitted,


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                                    CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the foregoing was served by ECF on October

   16, 2024 on all counsel or parties of record.
                                                               /s/ Ariel Deitchman

                                                               Ariel Deitchman




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